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       PSJ4 SOL Opp Exh 24
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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


    IN RE NATIONAL PRESCRIPTION OPIATE                 MDL No. 2804
    LITIGATION
                                                       Case No. 17-md-2804
    This document relates to:
    The County of Summit, Ohio, et al. v. Purdue       Judge Dan Aaron Polster
    Pharma L.P., et al.
    Case No. 18-op-45090


            SUMMIT COUNTY AND CITY OF AKRON, OHIO PLAINTIFF FIRST
                    AMENDED RESPONSES AND OBJECTIONS TO
            DISTRIBUTOR DEFENDANTS’ FIRST SET OF INTERROGATORIES



          Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure and the Case

Management Order in In re National Prescription Opiate Litigation, No. 1:17-cv-2804 (Dkt. No.

232), the County of Summit, Ohio and the City of Akron, Ohio (collectively “Plaintiff”) hereby

responds to Distributor Defendants’1 First Set of Interrogatories (the “Interrogatories” and, each

individually, an “Interrogatory”), as follows:

                                              OBJECTIONS

          The following objections apply to each Interrogatory. To the extent that certain specific

objections are cited in response to an individual Interrogatory, those specific objections are

provided because they are applicable to that specific Interrogatory and are not a waiver of the

other objections applicable to information falling within the scope of such Interrogatory.

          1.      Plaintiff objects to each Interrogatory to the extent they are overly broad, vague,

unduly burdensome, seek information that is not relevant to any party’s claim or defense, or seek



1
 The Distributor Defendants are AmerisourceBergen Drug Corporation, Cardinal Health, Inc.,
and McKesson Corporation (collectively “Distributors”).
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to impose obligations or require actions beyond those required by the Rules of Civil Procedure,

the ESI Protocol entered in this matter or the Local Rules of the United States District Court of

the Northern District of Ohio.

       2.      Plaintiff objects to each Interrogatory to the extent they seek information

restricted from dissemination pursuant to court order, statute, or regulation. Further, any

response made by Plaintiff to the Interrogatories is not intended to waive, and does not constitute

any waiver of, any objection to the admissibility, authenticity, competency or relevance of the

information produced or identified.

       3.      These responses are made solely for the purpose of and in relation to this action.

Each answer is given subject to all appropriate objections, which would require the exclusion at

trial of any statement contained or document provided herein. All such objections and the

grounds therefore are hereby reserved.

       4.      No admission of any nature whatsoever is to be implied or inferred in these

responses. The fact that any of the Interrogatories herein may have been answered should not be

taken as an admission or a concession of the existence of any facts set forth or assumed by the

Interrogatories, or that such answer constitutes evidence of any fact thus set forth or assumed.

       5.      Plaintiff objects to each Interrogatory to the extent Plaintiff has not yet completed

its investigation of the facts relating to this action and has not yet completed its preparation for

trial. Accordingly, these responses are necessarily limited in nature, and reflect only that

information known to Plaintiff at this time.

       6.      Plaintiff objects to each Interrogatory to the extent they purport to require Plaintiff

to produce documents that are in the public domain or otherwise available to Distributors as

easily from other sources as from Plaintiff.



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       7.      Plaintiff objects to each Interrogatory to the extent they purport to state facts,

assumptions, or characterizations that are disputed.

       8.      Plaintiff objects to each Interrogatory to the extent they seek information more

appropriately obtained through other methods of discovery.

       9.      Plaintiff objects to each Interrogatory to the extent that they seek information that

is proprietary or confidential or that is protected from discovery as attorney work product and

attorney-client communication, information gathered or prepared in anticipation of litigation, the

public interest privilege, law enforcement privilege, public official privilege, and/or by any other

privilege or immunity from disclosure (collectively, “Privileged Information”).

       10.     Plaintiff objects to each Interrogatory to the extent they seek confidential

investigative, personal, or health information in Plaintiff’s possession, custody, or control

(collectively, “Confidential Information”).

       11.     Whenever in the responses Plaintiff employs the phrase “subject to and without

waiving all objections,” Plaintiff is responding to the Interrogatory as it may be narrowed by its

general and specific objections and without waiver of any objection.

       12.     Any response stating that Plaintiff will produce documents shall be deemed

followed by the phrase “as are within Plaintiff’s possession, custody, or control.”

       13.     Plaintiff objects to each Interrogatory to the extent that they imply the existence

of facts or circumstances that do not or did not exist, and to the extent that it states or assumes

legal conclusions. In providing these objections and responses, Plaintiff does not admit the

factual or legal premise of any Interrogatory.

       14.     Plaintiff objects to each Interrogatory to the extent they seek information that is

not within Plaintiff’s possession, custody, or control, seek documents that do not already exist, or



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which purport to require a response by Plaintiff on behalf of an entity or individual other than

Plaintiff.

        15.    Plaintiff reserves the right to supplement, revise, correct, or clarify its responses

and objections in the event that additional information becomes available.

        16.    Plaintiff intends to complete its responses by the time agreed upon by the parties

for the completion of discovery, or by the date ordered by the Court. Upon request by the

requesting party, Plaintiff is willing to meet and confer regarding its responses to the

Interrogatories. All final decisions regarding whether any information will be withheld pursuant

to any objection shall be made, and notice thereof provided, before the completion of written

discovery.

        17.    Plaintiff objects to the Distributors’ instruction that: “Each Plaintiff must

individually respond to each of these Interrogatories.” No federal rule prevents Plaintiff from

submitting collective answers to Distributors’ collective Interrogatories. Where the responses

and objections to these Interrogatories are the same for each Plaintiff, a collective response

herein will in no way prejudice Defendants. In each instance where the answers are not the same

for each Plaintiff, any differences have been set forth herein with particularity.

                                          NON-WAIVER

        1.     Plaintiff’s responses are made without waiving its right to object (on the grounds

of relevancy, hearsay, materiality, competency or any other ground) to the use of its responses in

any subsequent stage or proceeding in this action or any other action.

        2.     If Plaintiff, in response to any Interrogatory, inadvertently discloses information

that is or could be the subject of the objections stated herein, such disclosure is not intended to

be, nor is it deemed to be, a waiver of the objections with respect to such information disclosed.



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       3.      Plaintiff’s failure to object to a specific Interrogatory on a particular ground or

grounds shall not be construed as a waiver of its rights to object on any additional grounds.

       4.      Plaintiff responds herein based upon information it has been reasonably able to

gather at the time of making these responses. Plaintiff reserves its right to amend and/or to

supplement its objections and responses to the Interrogatories, consistent with further

investigation and discovery.

                        SPECIFIC RESPONSES AND OBJECTIONS

Interrogatory 1

       State the years during which you claim each Distributor Defendant engaged in conduct

for which You seek damages.

Response 1

       Plaintiff objects that this Interrogatory contains a reference to an ambiguous phrase,

“conduct.” Subject to and without waiving all objections, Plaintiff incorporates the allegations in

its second amended complaint. In addition, Plaintiff’s investigation of its damages caused by the

Defendants is ongoing and will be the subject of fully-supported and detailed expert witness

opinion(s) that will be disclosed in accordance with CMO 1 and the Federal Rules of Civil

Procedure. Subject to and without waiving any objections, Plaintiff responds that every year a

given Distributor Defendant distributed opioids is relevant. Plaintiff reserves the right to

supplement, amend or modify this response as discovery proceeds.

Interrogatory 2

       Identify each pharmacy within Your geographical boundaries that placed Suspicious

Orders for Prescription Opioids for each year of the Timeframe.




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Response 2

       Plaintiff objects that this Interrogatory is vague as to “Suspicious Orders.” Plaintiff

further objects to this request in that it calls for information in the Distributors’ possession or

control, or just as available to Distributors from its own business dealings or third-party sources

as may be available to Plaintiff, and thus places an undue burden on Plaintiff to gather.

       Subject to and without waiving all objections, Plaintiff responds as follows:

       Defendants have several responsibilities under state and federal law with respect to

control of the supply chain of opioids. The U.S. Department of Justice Drug Enforcement

Administration provides a series of guidelines on Suspicious Orders Reporting (“SOR”),

contained in the Chemical Handlers Manual, that “are intended to assist chemical manufacturers,

distributors, wholesalers and retailers to be alert to suspicious orders involving listed chemicals,”

which include opioids. “The guidelines are intended to apply to all aspects of commercial

chemical manufacturing and distribution.” Defendants must set up a system to prevent diversion,

including excessive volume and other suspicious orders. This includes reviewing Defendants’

own data, relying on their observations of prescribers and pharmacies, and following up on

reports or concerns of potential diversion. All suspicious orders must be reported by Defendants

to relevant enforcement authorities. Further, distributors must also stop shipment of any order

which is flagged as suspicious and only ship orders which were flagged as potentially suspicious

if, after conducting due diligence, they can determine that the order is not likely to be diverted

into illegal channels.

       The Controlled Substances Act requires manufacturers and distributors of Schedule II

substances like opioids to: (a) limit sales within a quota set by the DEA for the overall

production of Schedule II substances like opioids; (b) register to manufacture or distribute

opioids; (c) maintain effective controls against diversion of the controlled substances that they

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manufacture or distribute; and (d) design and operate a system to identify suspicious orders of

controlled substances, halt such unlawful sales, and report them to the DEA.

        To ensure that even drugs produced within quota are not diverted, federal regulations

issued under the CSA mandate that all registrants, manufacturers and distributors alike, “design

and operate a system to disclose to the registrant suspicious orders of controlled substances.” 21

C.F.R. § 1301.74(b). Registrants are not entitled to be passive (but profitable) observers, but

rather “shall inform the Field Division Office of the Administration in his area of suspicious

orders when discovered by the registrant.” Id. Suspicious orders include orders of unusual size,

orders deviating substantially from a normal pattern, and orders of unusual frequency. Id. Other

red flags may include, for example, “[o]rdering the same controlled substance from multiple

distributors.” Id.

        These criteria are disjunctive and are not all inclusive. For example, if an order deviates

substantially from a normal pattern, the size of the order does not matter and the order should be

reported as suspicious. Likewise, a distributor or manufacturer need not wait for a normal pattern

to develop over time before determining whether a particular order is suspicious. The size of an

order alone, regardless of whether it deviates from a normal pattern, is enough to trigger the

responsibility to report the order as suspicious. The determination of whether an order is

suspicious depends not only on the ordering patterns of the particular customer but also on the

patterns of the entirety of the customer base and the patterns throughout the relevant segment of

the industry. For this reason, identification of suspicious orders serves also to identify excessive

volume of the controlled substance being shipped to a particular region.

        Defendants have continued to integrate vertically by acquiring businesses that are related

to the distribution of pharmaceutical products and health care supplies. In addition to the actual

distribution of pharmaceuticals, as wholesalers, Distributor Defendants also offer their

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pharmacy, or dispensing, customers a broad range of added services. For example, Distributor

Defendants offer their pharmacies sophisticated ordering systems and access to an inventory

management system and distribution facility that allows customers to reduce inventory carrying

costs. Distributor Defendants are also able to use the combined purchase volume of their

customers to negotiate the cost of goods with manufacturers and offer services that include

software assistance and other database management support. As a result of their acquisition of a

diverse assortment of related businesses within the pharmaceutical industry, as well as the

assortment of additional services they offer, Distributor Defendants have a unique insight into

the ordering patterns and activities of their dispensing customers.

         Despite Defendants’ obligations to monitor and report suspicious orders, the ARCOS

database identifies these pharmacies as having suspicious orders for opioids within Summit

County, Ohio2:

           PHARMACY/BUYER NAME                            CITY/STATE
           Dr. A. J. GINGO                                AKRON, OH
           THE FRED W ALBRECHT
                                                          STOW, OH
           GROCERY CO
           RITZMAN PHARMACY #107                          AKRON, OH
           SUMMIT PAIN SPECIALISTS
                                                          STOW, OH
           PHARMACY
           RITZMAN PHARMACY #106                          NORTON, OH
           THE FRED W ALBRECHT
                                                          AKRON, OH
           GROCERY
           SKILLED CARE PHARMACY-
                                                          TWINSBURG, OH
           CLEV
           WALGREEN CO.                                   CUYAHOGA FALLS, OH
           RITZMAN PHARMACY #101                          AKRON, OH
           OHIO CVS STORES, L.L.C.                        AKRON, OH
           ACME PHARMACY #11                              TALLMADGE, OH
           WALGREEN CO.                                   AKRON, OH
           MARC GLASSMAN INC                              AKRON, OH
           RITE AID OF OHIO, INC.                         BARBERTON, OH

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  This does not account for the flood of opioids from surrounding counties and states; Plaintiff expressly reserves its
right to amend, modify or supplement on this point.

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        TARGET STORES A DIV. OF
                                        AKRON, OH
        TARGET CORP.
        KLEIN'S PHARMACY                CUYAHOGA FALLS, OH
        GIANT EAGLE PHARMACY
                                        CUYAHOGA FALLS, OH
        #4036
        CHILDRENS HOSPITAL MED
                                        AKRON, OH
        CTR
        FRED W ALBRECHT GROCERY
                                        AKRON, OH
        CO
        GLASSMAN INC                    SAGAMORE HILLS, OH
        RITE AID OF OHIO, INC.          AKRON, OH
        RITE AID OF OHIO, INC.          TALLMADGE, OH
        SUMMA HEALTH SYSTEM             AKRON, OH
        GIANT EAGLE PHARMACY
                                        CUYAHOGA FALLS, OH
        #5878
        THE FRED W ALBRECHT
                                        AKRON, OH
        GROCERY
        AKRON PHARMACY                  AKRON, OH
        GIANT EAGLE PHARMACY
                                        NORTHFIELD, OH
        #6299
        KLEIN'S COMMUNITY HEALTH        AKRON, OH
        MARCS CHAPEL HILL INC           CUYAHOGA FALLS, OH
        TARGET STORES A DIV.OF
                                        FAIRLAWN, OH
        TARGET CORP.
        KMART PHARMACY #7383            BARBERTON, OH
        THE FRED W ALBRECHT GROC
                                        NORTON, OH
        CO
        RITZMAN PHARMACY #105           AKRON, OH
        THE FRED W ALBRECHT
                                        HUDSON, OH
        GROCERY
        RITE AID OF OHIO, INC.          FAIRLAWN, OH
        THE FRED W ALBRECHT
                                        STOW, OH
        GROCERY
        RITE AID OF OHIO, INC.          AKRON, OH
        THE FRED W ALBRECHT
                                        CUYAHOGA FALLS, OH
        GROCERY
        GIANT EAGLE PHARMACY
                                        BARBERTON, OH
        #4031
        GIANT EAGLE PHARMACY
                                        TALLMADGE, OH
        #4030
        RITE AID OF OHIO, INC.          AKRON, OH
        COLONIAL PHARMACY               BATH, OH
        MARC                            AKRON, OH
        NEW CHOICE PHARMACY             CUYAHOGA FALLS, OH
        VA OUTPATIENT CLINIC            AKRON, OH
        RITE AID OF OHIO, INC.          AKRON, OH

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         GIANT EAGLE PHARMACY
                                                AKRON, OH
         #4124
         GIANT EAGLE PHARMACY
                                                AKRON, OH
         #4029

       Further, Plaintiff identifies these pharmacies as having the largest shipments of opioids:

           PHARMACY NAME                                      ADDRESS
                                                KLEIN BARRY E
                                                2015 STATE RD
  KLEIN'S PHARMACY                              CUYAHOGA FALLS, OH 44223
  THE FRED W ALBRECHT GROCERY                   4302 ALLEN RD SUITE #110
  CO                                            STOW, OH 44224
                                                1900 23RD STREET
  NEW CHOICE PHARMACY                           CUYAHOGA FALLS, OH 44223
                                                325 EAST WATERLOO ROAD
  RITE AID OF OHIO, INC.                        AKRON, OH 44319
                                                1323 COPLEY RD
  RITZMAN PHARMACY #101                         AKRON, OH 44320
                                                590 EAST MARKET STREET
  OHIO CVS STORES, L.L.C.                       AKRON, OH 44304
  SUMMIT PAIN SPECIALISTS                       4302 ALLEN RD SUITE 300
  PHARMACY                                      STOW, OH 44224
                                                41 5TH STREET SE
  GIANT EAGLE PHARMACY #4031                    BARBERTON, OH 44203
                                                2645 STATE RD
  WALGREEN CO.                                  CUYAHOGA FALLS, OH 44223
                                                302 CANTON ROAD
  WALGREEN CO.                                  AKRON, OH 44312
                                                DBA ACME PHARMACY #18
                                                2147 EAST AVENUE
  THE FRED W ALBRECHT GROCERY                   AKRON, OH 44314
                                                1130 S. ARLINGTON ST
  WALGREEN CO.                                  AKRON, OH 44306
                                                3352 KENT ROAD
  OHIO CVS STORES, L.L.C.                       STOW, OH 44224
                                                900 WOOSTER RD NORTH
  WALGREEN CO.                                  BARBERTON, OH 44203
                                                1540 CANTON ROAD
  RITE AID OF OHIO, INC.                        AKRON, OH 44312
                                                786 W MARKET ST
  HIGHLAND SQUARE PHCY                          AKRON, OH 44303
                                                1225 CANTON RD
  OHIO CVS STORES, L.L.C.                       AKRON, OH 44312

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                                        1303 COPLEY ROAD
  WALGREEN CO.                          AKRON, OH 44320
                                        157 WEST CEDAR STREET
  RITZMAN PHARMACY #107                 AKRON, OH 44307
                                        1900 23RD STREET
  NEW CHOICE PHARMACY                   CUYAHOGA FALLS, OH 44223
                                        1047 KENMORE BOULEVARD
  RITE AID OF OHIO, INC.                AKRON, OH 44314
                                        484 EAST WATERLOO RD
  GIANT EAGLE PHARMACY #4124            AKRON, OH 44319
                                        830 BRITTAIN RD
  WALGREEN CO.                          AKRON, OH 44305
                                        235 EAST CUYAHOGA FALLS AVE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44310
                                        4195 S. CLEVELAND-MASSILLON ROAD
  OHIO CVS STORES, L.L.C.               NORTON, OH 44203
                                        834 W. MARKET STREET
  WALGREEN CO.                          AKRON, OH 44303
                                        3009 W. MARKET ST.
  WALGREEN CO.                          FAIRLAWN, OH 44333
                                        390 ROBINSON AVENUE, SUITE A
  RITZMAN PHARMACY #102                 BARBERTON, OH 44203
                                        DBA ACME PHARMACY #14
                                        3235 MANCHESTER RD
  FRED W ALBRECHT GROCERY CO            AKRON, OH 44319
                                        2091 EASTWOOD AVENUE
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        780 BRITTAIN ROAD
  OHIO CVS STORES, L.L.C.               AKRON, OH 44305
                                        1711 STATE RD
  OHIO CVS STORES, L.L.C.               CUYAHOGA FALLS, OH 44223
                                        426 ROBINSON AVE.
  OHIO CVS STORES, L.L.C.               BARBERTON, OH 44203
                                        2975 WEST MARKET STREET
  RITE AID OF OHIO, INC.                FAIRLAWN, OH 44333
                                        1949 WEST MARKET STREET
  OHIO CVS STORES, L.L.C.               AKRON, OH 44313
                                        1760 GOODYEAR BLVD
  RALEY DRUG STORE, INC                 AKRON, OH 44305
                                        1925 W. MARKET ST.
  WALGREEN CO.                          AKRON, OH 44313
                                        10380 NORTHFIELD ROAD
  OHIO CVS STORES, L.L.C.               NORTHFIELD, OH 44067

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                                                 655 PORTAGE TRAIL
  DISCOUNT DRUG MART #33                         CUYAHOGA FALLS, OH 44221
                                                 2801 EAST WATERLOO ROAD
  GIANT EAGLE PHARMACY #4029                     AKRON, OH 44312
                                                 205 WEST AVE
  GIANT EAGLE PHARMACY #4030                     TALLMADGE, OH 44278
                                                 9043 DARROW RD
  WALGREEN CO.                                   TWINSBURG, OH 44087
                                                 4053 SOUTH MAIN STREET
  RITE AID OF OHIO, INC.                         AKRON, OH 44319
                                                 1403 WOOSTER ROAD WEST
  RITE AID OF OHIO, INC.                         BARBERTON, OH 44203
                                                 941 WEST NIMISILA RD
  COPE PHARMACY INC                              AKRON, OH 44319
                                                 2086 GRAHAM RD.
  WALGREEN CO.                                   STOW, OH 44224
                                                 DBA ACME PHARMACY #2
                                                 2420 WEDGEWOOD DRIVE
  THE FRED W ALBRECHT GROCERY                    AKRON, OH 44312
                                                 45 EAST AVENUE
  RITE AID OF OHIO, INC.                         TALLMADGE, OH 44278
                                                 DBA: ACME PHARMACY 6
                                                 3200 GREENWICH ROAD
  THE FRED W ALBRECHT GROC CO                    NORTON, OH 44203
                                                 1260 INDEPENDENCE AVE
  HEALTHSPAN INTEGRATED CARE                     AKRON, OH 44310

       In addition, Plaintiff’s investigation of the wrongful conduct of Defendants including the

identification of suspicious orders for prescription opioids within the County is ongoing and will

be the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

accordance with CMO 1 and the Federal Rules of Civil Procedure. Plaintiff reserves the right to

supplement, amend or modify this response as discovery proceeds.

Interrogatory 3

       Identify each pharmacy within Your geographical boundaries that diverted or wrongfully

dispensed Prescription Opioids for each year of the Timeframe.




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Response 3

        Plaintiff objects that this Interrogatory is unduly burdensome to the extent it requests

Plaintiff to identify each such pharmacy. Plaintiff further objects to this request to the extent it

calls for information in the Distributors’ possession or control, or just as available to Distributors

from third-party sources as it may be available to Plaintiff, and thus places an undue burden on

Plaintiff to gather.

        Subject to and without waiving all objections, Plaintiff recently obtained the ARCOS

database information and is analyzing this information. Plaintiff will conduct a reasonable and

diligent search for and, if such information is in Plaintiff’s possession, custody, or control, will

identify such pharmacies. Plaintiff further responds: See Response to Interrogatory No. 2.

        In addition, Plaintiff’s investigation of the wrongful conduct of Defendants including the

identification of wrongful diversion of prescription opioids within the County is ongoing and

will be the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed

in accordance with CMO 1 and the Federal Rules of Civil Procedure. Plaintiff reserves the right

to supplement, amend or modify this response as discovery proceeds.

Interrogatory 4

        Identify Your past or present employees or representatives, for each year of the

Timeframe, with knowledge regarding the wrongful abuse, use, misuse, prescribing, dispensing,

sale, distribution, addiction to, and/or diversion of (a) Prescription Opioids or (b) other opioids.

Response 4

        Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff has

produced organizational charts and custodian lists that identify employees or representatives. In

addition, the table provided below identifies document custodians:



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 Name                    Title                                            Jurisdiction
 Honorable Joy Malek     Judge, Court of Common Pleas; Member of          Summit
 Oldfield                Summit County Opiate Task Force
 Honorable Thomas        Judge, Court of Common Pleas; Member of          Summit
 Teodosio                Summit County Opiate Task Force
 Dr. Lisa Kohler         Chief Medical Examiner, Summit County            Summit
 Gary Guenther           Chief Investigator, Summit County Medical        Summit
                         Examiner’s Office
 John Galonski           Civil Division, Summit County Prosecutor’s       Summit
                         Office
 Brad Gessner            Criminal Division, Summit County’s               Summit
                         Prosecutor’s Office
 Laurie Fischer          Probation Supervisor, Court of Common Pleas,     Summit
                         Second Division
 Rich Marountas          Chief Epidemiologist                             Summit
 Leanne Beavers          Director of Clinical Health                      Summit
 Donna Skoda             Health Commissioner                              Summit
 Jerry Craig             Executive Director, ADM                          Summit
 Doug Smith              Doctor, ADM Chief Clinical Officer, ADM          Summit
 Mary Alice Sonnhalter   Retired, ADM                                     Summit
 Aimee Wade              ADM Assoc. Dir. Of Clinical Services, ADM        Summit
 Christine Croce         Judge, Court of Common Pleas                     Summit
 Brian Nelson            Director of Finance and Budget                   Summit
 Lisa DiSabato-Moore     Special Projects Administrator, Juvenile Court   Summit
 Curtis Howard           Chief Probation Officer, Juvenile Court          Summit
 Getta Kutuchief         Education and Community Outreach                 Summit
                         Coordinator, Juvenile Court
 Becky Ryba              FRRC Coordinator (Family Reunification           Summit
                         through Recovery Court), Juvenile Court
 Kathryn VanHorn         Crossroads Supervisor, Juvenile Court            Summit
 Todd Barr               Deputy Medical Examiner, Medical Examiner’s      Summit
                         Office
 Justin Benner           Forensic Investigator, Medical Examiner’s        Summit
                         Office
 Denice DiNapoli         Senior Administrator, Medical Examiner’s         Summit
                         Office
 Clarence Dorsey         Forensic Investigator, Medical Examiner’s        Summit
                         Office
 Lauren Fowler           Forensic Investigator, Medical Examiner’s        Summit
                         Office

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 Jasmine Griffin         Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Jason Grom              Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Jenna Kolb              Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Michael McGill          Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Steve Perch             Chief Toxicologist, Medical Examiner’s Office     Summit
 Amy Schaefer            Investigator Supervisor, Medical Examiner’s       Summit
                         Office
 George Sterbenz         Chief Deputy Medical Examiner                     Summit
 Kelsie Stopak           Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Robert (Mike) Velten    Forensic Investigator, Medical Examiner’s         Summit
                         Office
 Melanie Hart            Administrative Assistant to Sherri Bevan Walsh,   Summit
                         Prosecutor
 Jon Baumoel             Prosecutor                                        Summit
 Joseph Macalees         Assistant Prosecutor                              Summit
 Colleen Sims            Assistant Prosecutor                              Summit
 Matt Paolino            Captain , Sheriff’s Office                        Summit
 Hilton Baker            Captain, Sheriff’s Office                         Summit
 Lori Baker-Stella       Deputy, Sheriff’s Office                          Summit
 Carmen Ingram           Deputy , Sheriff’s Office                         Summit
 Stacy Milkey            Admin. Asst. , Sheriff’s Office                   Summit
 Mike Walsh              Sergeant, Sheriff’s Office                        Summit
 Scott Cottle            Lieutenant, Sheriff’s Office                      Summit
 Rich Paolucci           Captain , Sheriff’s Office                        Summit
 Bill Holland            Public Information Officer, Sheriff’s Office      Summit
 Pat Hunt                Staff, Sheriff’s Office                           Summit
 Cpt. Brian Harding      Captain, Technical Services Bureau                Akron
 Steve Fricker           Deputy Director of Finance                        Akron
 Judge Jon Oldham        Presiding Judge, Recovery / Drug Court            Akron
 Montrella Jackson       Administrator
 Charles Brown           Deputy Mayor for Public Safety, formerly          Akron
                         Assistant to the Mayor
 Craig Gilbride          Formerly Deputy Mayor for Public Safety, Chief    Akron
                         of Police (retired)



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 Robert Ross (retired)     Formerly Deputy Mayor for Public Safety, Fire       Akron
                           Chief (retired)
 Chief Kenneth Ball        Police Chief, formerly Deputy Chief,                Akron
                           Investigative Subdivision
 Deputy Chief Michael      Deputy Chief, Uniform Subdivision, formerly         Akron
 Caprez                    Deputy Chief, Communications Subdivision
 Deputy Chief Jesse Leeser Deputy Chief, Investigative Subdivision,            Akron
                           formerly Captain, Technical Services Bureau
 Sgt. Eric Wood            Sergeant, Chief's Office                            Akron
 Deputy Chief Paul         Formerly Deputy Chief, Patrol Subdivision           Akron
 Calvaruso (retired)       (retired)
 Cpt. Sylvia Trundle       Formerly Captain, Investigative Subdivision         Akron
 (retired)                 (retired)
 Cpt. Terry Pasko          Captain, Patrol Subdivision, formerly lieutenant,   Akron
                           street narcotics unit (SNUDS)
 Officer Michael Schmidt   Officer, Narcotics Unit, opioid heroin overdose     Akron
                           death investigator
 Officer Tim Harvey        Officer, Narcotics Unit, opioid heroin overdose     Akron
                           death investigator
 Officer Patrick Didyk     Officer, Street Narcotics (SNUDS) Unit, opioid      Akron
                           heroin overdose death investigator
 Officer Timothy Wypasek Officer, Street Narcotics (SNUDS) Unit, opioid        Akron
                           heroin overdose death investigator
 Erika Wiles               Crime Analyst II, Planning and Research Office      Akron
 Cpt. Michael Shearer      Captain, Narcotics, SNUDS, Vice Subdivision         Akron
 Lt. David Garro           Lieutenant, Narcotics Unit                          Akron
 Cpt. Chip Westfall        Formerly Lieutenant, Narcotics Unit (retired)       Akron
 (retired)
 Lt. Rick Edwards          Police Information Officer                          Akron
 Cpt. Melissa Schnee       Captain, Services Subdivision                       Akron
 Cpt. Daniel Zampelli      Formerly Captain, Services Subdivision (retired)    Akron
 (retired)
 Chief Clarence Tucker     Chief of Fire Division                              Akron
 Chief Ed Hildebrand       Formerly Chief of Fire Division (retired)           Akron
 (retired)
 Deputy Chief Charles      Deputy Chief of Fire Division                       Akron
 Twigg
 District Chief Joseph     District Chief / EMS Bureau Manager                 Akron
 Natko
 District Chief Rich Vober Deputy Chief                                        Akron

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 Cpt. Leon Henderson          Captain, Safety Communications                       Akron
 Cpt. Chris Karakis           Captain, EMS Bureau Manager                          Akron
 District Chief Jim           District Chief, formerly Captain, EMS Bureau         Akron
 Willoughby                   Manager
 Deputy Chief Dale Evans      Formerly Deputy Chief, EMS Bureau Manager            Akron
 (retired)                    (retired)
 Lt. Joseph Shumaker          Lieutenant, Fire / EMS                               Akron
 Albert Minnich (retired)     Formerly fire medic (retired)                        Akron
 Les Gaiser (retired)         Formerly Captain, Fire / EMS (retired)               Akron
 Guy Randall                  Fire / EMS medic, training                           Akron
 Lt. Sierjie Lash             Public Information Officer                           Akron
 Terry Albanese (retired)     Assistant to the Mayor for Education, Health,        Akron
                              and Families
 Gert Wilms                   Chief Prosecutor                                     Akron
 Tony Ingram                  Chief Probation Officer                              Akron
 Jeff Sturmi                  Deputy Chief Probation Officer                       Akron

       Plaintiff identifies the following individuals as most knowledgeable:

 Name                         Title                                                Jurisdiction
 Judge Jon Oldham             Presiding Judge, Recovery / Drug Court               Akron
 Tony Ingram                  Chief Probation Officer                              Akron
 Cpt. Michael Shearer         Captain, Narcotics, SNUDS, Vice Subdivision          Akron
 Deputy Chief Charles         Deputy Chief of Fire Division                        Akron
 Twigg
 Steve Fricker                Deputy Director of Finance                           Akron
 Officer Michael Schmidt      Officer, Narcotics Unit, opioid heroin overdose      Akron
                              death investigator
 Gert Wilms                   Chief Prosecutor                                     Akron
 District Chief Joseph        District Chief / EMS Bureau Manager                  Akron
 Natko
 Craig Morgan                 Deputy Prosecutor                                    Akron

       Plaintiff reserves the right to amend, supplement or modify this response as discovery

continues.

Interrogatory 5

       Identify all persons in Your government entity for each year of the Timeframe, who held

the position of mayor, city council member, county commissioner, county supervisor, county

executive, chief health officer, county auditor, county recorder, county sheriff, county coroner or

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medical examiner, county treasurer, chief accountant, chief financial officer, police chief,

correctional facility supervisor, warden, deputy warden, fire chief, or the equivalent of such

titles. Include as part of your response each person’s name, position, and period of time during

which he or she held the position.

Response 5

       Plaintiff objects that this Interrogatory is overly broad and unduly burdensome to the

extent it requests Plaintiff to identify all persons who held the position of mayor, city council

member, county commissioner, county supervisor, county executive, chief health officer, county

auditor, county recorder, county sheriff, county coroner or medical examiner, county treasurer,

chief accountant, chief financial officer, police chief, correctional facility supervisor, warden,

deputy warden, fire chief, or the equivalent of such titles. Plaintiff further objects to this

Interrogatory to the extent that the requested information is available to the public and to the

Distributors through internet sources, and thus responding to the Interrogatory imposes an undue

burden on Plaintiff.

       Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff

refers to the response to Interrogatory 4. Plaintiff has produced organizational charts that

respond to this Interrogatory and refer Defendants to those and to publicly available information

on each plaintiff’s website as referenced in response to Interrogatory No. 9. Subject to and

without waiving objections, Plaintiff responds:

 Jurisdiction                Contact name           Position
                             Honorable Joy          Judge; Member of Summit County Opiate
 Summit County               Malek Oldfield         Task Force
                             Honorable
                             Christine Croce        Judge; Turning Point (drug court)
                                                    Captain, Narcotics Division, Summit County
                             Matt Paolino           Sheriff
                             Dr. Lisa Kohler        Chief Medical Examiner, Summit County


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                                                   Chief Investigator, Summit County Medical
                            Gary Guenther          Examiner’s Office
                                                   Chief Toxicologist, Summit County Medical
                            Steve Perch            Examiner’s Office
                                                   Criminal Division, Summit County’s
                            Brad Gessner           Prosecutor’s Office
                                                   Probation Supervisor, Court of Common
                            Laurie Fischer         Pleas, Second Division
                            Ilene Shapiro          Executive
                            Brian Nelson           Finance & Budget Director
                            Steve Barry            Sheriff
                            Sherri Bevan
                            Walsh                  Prosecutor
 Akron                      Kenneth R. Ball II     Chief of Police
                            Clarence Tucker        Chief of Fire
                            Donald L.
                            Plusquellic            Mayor (1987 – 2015)
                            Garry
                            Moneypenny             Mayor (5/31/15 – 6/10/15)
                            Jeff Fusco             Mayor (6/11/15 – 1/1/16)
                            Dan Horrigan           Mayor (1/1/16 – Present)

       Plaintiff further responds to this interrogatory by producing non-privileged, responsive

documents pursuant to Federal Rule of Civil Procedure 33(d). Plaintiff refers Defendants to

annual reports and organizational charts produced in this litigation.

       To the extent all positions and identities are not noted, Plaintiff will conduct a reasonable

and diligent search for and, if such information is in Plaintiff’s possession, custody, or control,

will identify such individuals. Plaintiff reserves the right to supplement, amend or modify this

response as discovery proceeds.

Interrogatory 6

       Identify all Your residents, for each year of the Timeframe, who experienced drug

overdose(s), separately identifying those drug overdoses caused by (a) Prescription Opioids (b)

other opioids, or (c) other drugs. Include as part of your response whether each drug overdose

was fatal.


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Response 6

       The Plaintiff is not claiming any damages on behalf of any individual or group of

individuals who were harmed by Defendants’ conduct, and the claims asserted by Plaintiff does

not require a showing that any third-party individuals were harmed. Moreover, producing such

information would cause substantial harm to the strong privacy interests held by the individuals

whose private medical files are the subject of this Interrogatory. See also response to

Interrogatory No. 1.

       Plaintiff objects to this Interrogatory to the extent that it calls for disclosure of Privileged

and Confidential Information. Also, the Interrogatory is overly broad and unduly burdensome

and seeks information beyond Plaintiff’s possession, custody, and control. Further objecting, the

Interrogatory contains a reference to several undefined terms and phrases, namely, “experienced”

and “other opioids.”

       To the extent that responsive information is in Plaintiff’s possession, custody or control,

Plaintiff objects that the burden of responding to this Interrogatory is wholly unproportional to

the needs of the case considering: (i) the marginal importance of the information to the claims

and defenses in this litigation and (ii) the substantial cost to identify such responsive information.

       Plaintiff responds that this interrogatory seeks confidential and sensitive information

protected from disclosure under both State and federal statutes, rules, and

regulations. Specifically, this Interrogatory seeks protected health information prohibited from

disclosure under the Health Insurance Portability and Accountability Act (“HIPPA”), 42 C.F.R.

part 2, and other State and federal statutes, rules and regulations, and runs contrary to the ruling

of Special Master Cohen in Discovery Order No. 1 dated June 11, 2018.

       Subject to and without waiving all objections, Plaintiff answers as follows:



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       The Summit County Opiate Task Force, referenced in response to Interrogatory 9, reports

the following:

       1.        Drug Overdose Emergency Department Visit Summary.




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       2.    Drug Overdose Emergency Department Visit Summary.




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       3.    Drug Overdoses (Epicenter) – Drug Overdose Emergency Department Visit
             Summary.




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       4.     Drug Overdose Deaths – Average OD Deaths Per month by Year




       Furthermore, Summit County’s Alcohol, Drug Addiction, and Mental Health Services

tracks hospital admissions for opiate abuse and dependence, which reported the following at an

Opiate Conference on July 1, 2014:

                   Year               Opiate-related Hospital Admissions
                   2001               12.1%
                   2003               12.1%
                   2005               12.8%
                   2007               15.3%
                   2009               15%
                   2011               17.5%
                   2012               20.6%

       Plaintiff also responds as follows:




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       An epidemiological report from the Ohio Governor’s Cabinet opiate action team cited the

shutdown of southern Ohio pill mills as one of the chief factors in an increase throughout Ohio in

heroin overdose rates (which, as explained below, is the drug turned to by prescription opioid

users when those drugs are no longer available or too expensive). Consistent with this observed

statewide trend, Summit County has seen a spike in heroin overdoses. Further, law enforcement

in the County note that the vast majority of heroin users started with prescription opioids.

       Ohio is among the states hardest hit by the opioid epidemic. “Opioid addiction, abuse,

and overdose deaths have become the most pressing public health issue facing Ohio.” Ohio now

“leads the country in drug overdose deaths per capita, a rate that continues to rise, overwhelming

families, communities, and local governments across the state.” Overdose deaths have become

the leading cause of death for Ohioans under the age of 55, and across all ages, more than two

and a half times as many people die from drug overdoses as from car accidents. Most of the

overdose fatalities in Ohio involved opioids.

       In Ohio, an average of 14 people now die per day from fatal drug overdoses. Provisional

data from the CDC showed the crisis continuing to explode during the first half of last year, with

5,232 Ohio overdose deaths recorded in the 12 months ending June 31, 2017. Most of the

overdose fatalities in Ohio involved opioids. These grim numbers likely understate the number of

lives lost due to incomplete reporting.

       Tragically, “Ohio’s death rate has grown faster than the national rate.” From 2000 to

2012, the State experienced a more that 366% increase in drug overdose deaths, a startling

statistic driven largely by overdoses from prescription drugs. Measured from 2000 to 2015, the

numbers are even more staggering: the rate of unintentional drug poisonings in Ohio jumped

642%, with the increase driven largely by opioid-related overdoses. In 2015, there were 3,050



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Ohio overdose deaths, up 20.5% from 2,531 Ohio overdose deaths in 2014. Eighty-five percent

of these overdoses involved opioids.

       The problem is only getting worse: between 2015 and 2016, overdose deaths in Ohio rose

by nearly 33% to 4,329 people. Reports from death certifications show that the overall number of

drug overdose deaths attributable to all opioids rose from 85% in 2015 to 86.3% in 2016. In the

City of Akron, the Police Department responded to 2,114 overdoses in 2016 and the first six

months of 2017 alone.




       These figures make the opioid epidemic in Ohio one of the most deadly epidemics the

state has faced, measured by deaths and mortality rates. In 2010, mortality rates were four to five

times higher than the rates during the “black tar” heroin epidemic in the mid-1970s and more

than three times what they were during the peak years of the crack cocaine epidemic in the early

1990s. To quote one Ohio medical examiner: we are currently suffering a “slow-moving mass

fatality that occurred last year, is occurring again this year, and will occur again next year.”

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       In Summit County, the epidemic, as County Executive Ilene Shapiro has noted, “does not

appear to be slowing down, and the numbers are staggering.” More people died in Summit

County from drug overdoses in 2015 and 2016 alone than the entire decade of 2000 to 2009.

Altogether, 1,053 Summit County residents died from drug overdoses between 2012 and mid-

August 2017. Summit County Public Health recorded more than twice as many (2,243) drug

overdoses in 2016 alone, which equates to an average of one overdose every 3.6 hours. Fatal

heroin overdoses have increased: in 2015, 153 people died in Summit County from a fatal heroin

or fentanyl overdose and by 2016, that number had climbed to 225—a new death virtually every

weekday. Overall, the Summit County Medical Examiner’s office has seen a 209% increase in

the number of overdose deaths.




       Ohio’s Prescription Drug Abuse Task Force has found that individuals addicted to

prescription opioids often transition to heroin due to its lower cost, ready availability, and similar

high. Similarly, a study by the Ohio Substance Abuse Monitoring Network reported on the


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connection between oxycodone use and heroin addiction, fording that “young new heroin

abusers seeking treatment reported OxyContin abuse prior to becoming addicted to heroin,”

often after OxyContin became too expensive or difficult to obtain.”

        Carfentanil, a powerful derivative of fentanyl, has increasingly been found in heroin and

fentanyl sold illicitly. Carfentanil is so strong that it is typically used in veterinary medicine to

sedate large wild animals such as elephants, and has been researched as a chemical weapon. A

dose the size of a grain of salt can rapidly lead to deadly overdose in humans. In July of 2016,

Akron, for example, saw 236 overdose cases in just 21 days, with at least 14 fatalities suspected

to be linked to carfentanil. Because of its potency, the Ohio Attorney General’s website

recommends that chemists and lab technicians who test for carfentanil use protective gear.

        So deadly is this trend that surges of fatal drug overdoses have outpaced the capacity of

some local morgues. Coroners or medical examiners from at least four Ohio communities—

Cuyahoga, Ashtabula, Summit, and Stark Counties— have had to request the use of a

refrigerated trailer known as a “mobile morgue unit” and originally intended for catastrophes

leading to mass casualties, from the Ohio Department of Health. Summit County has had to

make use of the mobile morgue on five separate occasions. The refrigerated trailer doubles the

number of bodies that the County Medical Examiner’s Office could otherwise hold at one time.

        Autopsy reports confirm that many of the deaths are related to oxycodone, hydrocodone,

other prescription opioids, heroin and fentanyl.

        With the increase in opioid-related fatalities, investigators with the Summit County

Medical Examiner’s Office must face heart-breaking tragedies. One investigator was called upon

to determine the cause of four deaths—two children and a father from the same family within a

nine month period; a fourth family member died two months later. A mother lost both of her

adult sons to opioid overdoses within weeks of each other. The presence of an investigator from

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the Summit County Medical Examiner’s Office has become so common that family members

recognize them and know someone has died even before the news is broken to them. In the

words of the County’s Chief Medical Examiner, opioids are killing an entire generation in

Summit County, and wreaking havoc on those who survive, too. Many grieving families have

been financially tapped out by the costs of repeated cycles of addiction treatment programs;

others have lost hope and given up.

        This increasing number of cases takes both a physical and mental toll on investigators

and first responders. The Summit County Medical Examiner’s Office has struggled to retain and

recruit qualified death investigators. In addition to burn-out, the Summit County Medical

Examiner’s Office has faced increased costs of overtime, laboratory, toxicology and other costs.

Between 2012 and 2016, there was a 47% increase in autopsies, a 436% increase in toxicology

lab costs to identify new drugs, mostly synthetic opioids that have swept up individuals already

addicted to opioids, and a 100% increase in the costs to transport the bodies. In the City of

Akron, the Police Department responded to 2,114 overdoses in 2016 and the first six months of

2017.

        Overdose deaths are only one consequence. Opioid addiction and misuse also result in an

increase in emergency room visits, emergency responses, and emergency medical technicians’

administration of Narcan or naloxone—the antidote to opioid overdose. In fact, while the rate of

opioid-related emergency department visits increased in almost all states from 2009 to 2014,

Ohio experienced the greatest increase of any state in the nation, and the rate of opioid-related

inpatient stays more than doubled as well, according to data from the Agency of Healthcare

Research and Quality.




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       Ohio EMS personnel administered naloxone (or Narcan) more than 44,500 times in 2017

alone. This means that, on average, Ohio EMS personnel administered over 122 doses of

naloxone every day in 2017 alone. This information, too, is likely understated, as only 72% of

Ohio EMS agencies reported data for inclusion in the state’s summary brief.

       Individuals addicted to opioids are so familiar with the potential for overdose that many

choose to use drugs in public places, such as a Walmart bathroom, where they can be found and

revived. In July of 2016, Summit County overdoses spiked to 19 a day, and in a single week in

October of 2017, 54 Summit County residents sought help at emergency rooms after overdosing.




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       As communities have worked to save lives, the opioid epidemic has continued to outpace

their efforts. Opioid addiction is now the primary reason that Ohioans seek substance abuse

treatment. Addiction treatment centers in Summit County report that the majority of their

patients who abuse heroin migrated from prescription opioids, particularly once doctors cut off

their prescriptions. A doctor interviewed by the County expressed concerns that, were he to stop

seeing as many patients taking opioids, he feared these patients would switch to heroin. In

Akron, 87% of one treatment program’s clients report opioids as their primary or secondary drug

of abuse. In Ohio, from 2010 to 2014, roughly 50,000 individuals per year received treatment for

their substance dependence or abuse—less than one-fifth of all individuals in state with

substance dependence or abuse. Data contained within amfAR’s Opioid & Health Indicators

show that in 2014, Summit County had a rate of drug dependence of 2.56% and a rate of non-

medical use of pain relievers of 4.82%, and that 87.5% of people who need addiction treatment

in the County do not receive it.

       The County also has experienced an increase in drug-related crimes and has had to

increase its spending on drug-related treatment and prevention. In one town in the County,

roughly 80% to 85% of police calls and investigations are related to drugs, and the majority of

those involve opioids. The Summit County jail provides services related to opioid detoxification,

including preventing suicides believed to be related to opioid withdrawal and now provides

Narcan to inmates upon discharge to help prevent future overdoses. From 2012 to 2017 to date,

the County’s Children Services Board has incurred nearly $24 million in costs, and the County’s

Alcohol, Drug Addiction, and Mental Health Services Board (“ADM Board”) more than $10

million costs related directly to the opioid epidemic. Even school resource officers address

opioids on a daily basis, largely stemming from students who obtain opioids through

prescriptions filled by family members.

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       In Ohio, the number of infants born with neonatal abstinence syndrome increased six-fold

in from 2004 to 2011. From 2009 to 2014, data from seven regional hospitals showed a greater-

than six-fold increase in drug-exposed infants. As a whole, the State has seen an 816% increase

in the number of infants born with Neonatal Abstinence Syndrome (“NAS”) from 2006 to 2015,

with opioids and other illegal narcotics being the most commonly implicated drugs since 2009.

In 2015 alone, 2,174 infants were admitted to inpatient settings for this painful condition, an

average of six per day. NAS has become so prevalent in Ohio communities that the state’s

Department of Health now recommends screening all newborns for NAS.

       This dramatic rise in NAS is an epidemic within an epidemic. According to the Ohio

Perinatal Quality Collaborative, the “NAS epidemic is steadily increasing, overwhelming social

service systems and public payers.”207 In 2013, the average inpatient stay and bill for babies

suffering from NAS was four times longer and four times higher than for other infants in Ohio.

Newborns with NAS spent approximately 26,000 days in Ohio hospitals in 2014, with health

care costs skyrocketing. These hospitals lack the resources to provide a safety net for these

families; mothers and babies often are discharged from hospitals without resources to transition

them to addiction treatment programs.

       Data from just one of Summit County’s hospitals indicates that roughly 300-350 babies

each year suffer from neonatal abstinence syndrome. The numbers have increased dramatically,

beginning in 2013, up from 100 to 150 babies per year. For the most part, the mothers started on

prescription opioids (typically Percocet or Vicodin) and ultimately moved to heroin.

       The financial and human costs that are already known are staggering; resources are being

diverted from other important uses and some agencies will likely have to increase operating

levies to fund their services, shifting an additional burden to Summit County residents. These



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costs do not even contemplate the resources necessary to fully address the epidemic. Plaintiff

also refers Defendants to overdose reports produced in this litigation.

       Plaintiff reserves the right to supplement, amend or modify its response as discovery

continues, or to answer this interrogatory by producing non-privileged, responsive documents

pursuant to Federal Rule of Civil Procedure 33(d). In addition, discovery is ongoing and will be

the subject of fully-supported and detailed expert witness opinion(s) that will be disclosed in

accordance with CMO 1 and the Federal Rules of Civil Procedure.

Interrogatory 7

       Identify all Your residents who became addicted to a Prescription Opioid during the

Timeframe.

Response 7

       Plaintiff objects to this Interrogatory to the extent that it calls for disclosure of Privileged

and Confidential Information. Also, the Interrogatory is overly broad and unduly burdensome

and seeks information beyond Plaintiff’s possession, custody, and control. Further objecting, the

Interrogatory contains a reference to an undefined term, “addicted.”

       To the extent that responsive information is in Plaintiff’s possession, custody or control,

Plaintiff objects that the burden of responding to this Interrogatory is not proportional to the

needs of the case considering: (i) the marginal importance of the information to the claims and

defenses in this litigation and (ii) the substantial cost to identify such responsive information.

The information has marginal—if any—importance to the claims and defenses in this litigation

because Plaintiff is not claiming any damages on behalf of any individual or group of individuals

who were harmed by Defendants’ conduct, and the claims asserted by Plaintiff do not require a

showing that any third-party individuals were harmed.



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       Plaintiff responds that this Interrogatory seeks confidential and sensitive information

protected from disclosure under both State and federal statutes, rules, and regulations.

Specifically, this Interrogatory seeks protected health information prohibited from disclosure

under the Health Insurance Portability and Accountability Act (“HIPPA”), 42 C.F.R. part 2, and

other State and federal statutes, rules and regulations, and runs contrary to the ruling of Special

Master Cohen in Discovery Order No. 1 dated June 11, 2018.

       Moreover, producing such information would cause substantial harm to the strong

privacy interests held by the individuals whose private medical files are the subject of this

Interrogatory. Therefore, Plaintiff is unable to produce information pursuant to this Interrogatory

and refer Defendants to Plaintiff’s response to Interrogatory No. 6.

       Plaintiff reserves the right to supplement, amend or modify its response as discovery

continues or by producing non-privileged, responsive documents pursuant to Federal Rule of

Civil Procedure 33(d). Plaintiff refers Defendants to Discovery Ruling No. 1 dated June 11,

2018, on the subject of individual data and burden.

Interrogatory 8

       Identify all persons who wrongfully manufactured, sold, possessed, used, distributed,

prescribed, or dispensed Prescription Opioids within Your geographical boundaries during the

Timeframe.

Response 8

       Plaintiff objects to this Interrogatory to the extent that it calls for disclosure of Privileged

and Confidential Information. Plaintiff objects to this Interrogatory as overly broad and unduly

burdensome and seeking information beyond Plaintiff’s possession, custody, and control.

Further objecting, the Interrogatory contains a reference to several undefined terms and phrases,

namely, “wrongfully,” “geographical boundaries,” and “dispensed.”

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       Subject to and without waiving all objections, Plaintiff incorporates the allegations in its

Second Amended Complaint and will continue to conduct a reasonable and diligent search for

and, if such information is in Plaintiff’s possession, custody, or control, will identify such entities

in addition to the Defendants identified in the Second Amended Complaint. Further responding,

Plaintiff recently obtained the ARCOS database information and is still analyzing this

information. Plaintiff’s investigation of the wrongful conduct of Defendants including the

identification of wrongful diversion of prescription opioids and other wrongful conduct within

the County is ongoing and will be the subject of fully-supported and detailed expert witness

opinion(s) that will be disclosed in accordance with CMO 1 and the Federal Rules of Civil

Procedure.

       Subject to and without waiving all objections, Plaintiff answers as follows: Purdue

Pharma, L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Endo Health Solutions

Inc.; Endo Pharmaceuticals, Inc.; Par Pharmaceutical, Inc.; Par Pharmaceutical Companies, Inc.

f/k/a Par Pharmaceutical Holdings, Inc.; Janssen Pharmaceuticals, Inc. f/k/a Ortho-McNeil-

Janssen Pharmaceuticals, Inc. f/k/a/ Janssen Pharmaceutical, Inc.; Johnson & Johnson; Noramco,

Inc.; Teva Pharmaceutical Industries, Ltd.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.;

Allergan PLC f/k/a Actavis PLC; Allergan Finance LLC, f/k/a/ Actavis, Inc., f/k/a Watson

Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis LLC; Actavis Pharma, Inc. f/k/a

Watson Pharma, Inc; Insys Therapeutics, Inc., Mallinckrodt PLC; Mallinckrodt LLC;

AmerisourceBergen Drug Corporation, Anda, Inc.; Cardinal Health, Inc., Discount Drug Mart,

Inc.; HBC Service Company; McKesson Corporation, Henry Schein Entities; CVS Health

Corporation, Miami-Luken, Inc.; Prescription Supply, Inc.; Walgreens Boots Alliance, Inc. a/k/a

Walgreen Co.; and Wal-Mart Inc., f/k/a Wal-Mart Stores, Inc. wrongfully distributed



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Prescription Opioids within Plaintiff’s geographical boundaries during the Timeframe, as alleged

in the Amended Complaint.

           Subject to and without waiving all objections, Plaintiff further answers as follows: Since

2014, at least four prescribers in Summit County were convicted of crimes involving drug

diversion. An Akron-area physician – Adolph Harper, Jr. – and three of his employees – Adria

Harper, Patricia Laughman and Tequilla Berry, pled guilty in October 2014 for prescribing

hundreds of thousands of doses of prescription opioids between 2009 and 2012. In December

2014, a former Copley Township family-medicine doctor named Brian Heim pled guilty to

conspiracy to distribute controlled substances and 20 counts of distribution of controlled

substances. In March 2015, he was sentenced to more than five years in federal prison.

           Plaintiff reserves the right to supplement or modify its response as discovery continues,

or to answer this interrogatory by producing responsive documents pursuant to Federal Rule of

Civil Procedure 33(d). In addition, discovery is ongoing and will be the subject of fully-

supported and detailed expert witness opinion(s) that will be disclosed in accordance with CMO

1 and the Federal Rules of Civil Procedure.

Interrogatory 9

           Identify Your efforts during each year of the Timeframe to address public health and

safety hazards that You attribute to the wrongful conduct of Distributor Defendants. Include as

part of your response information concerning Your expenditure of taxpayer dollars to fund these

efforts.

Response 9

           Subject to and without waiving all objections, Plaintiff will conduct a reasonable and

diligent search for and, if such information is in Plaintiff’s possession, custody, or control, will

produce documents that identify Plaintiff’s efforts and programs to address the opioid epidemic.

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In addition, Plaintiff’s investigation of its damages and “expenditure of taxpayer dollars” caused

by the Defendants is ongoing and will be the subject of fully-supported and detailed expert

witness opinion(s) that will be disclosed in accordance with CMO 1 and the Federal Rules of

Civil Procedure.

       Subject to and without waiving all objections, Plaintiff answers as follows: In 2014, the

County of Summit Alcohol, Drug Addiction and Mental Health Board convened the Summit

County Opiate Task Force, a group of individuals and organizations committed to reducing the

tragic consequences of opiate addiction in response to the rising public health crisis affecting

residents of Summit County. There are over 100 Summit County citizens who are active Task

Force members. The Task Force holds quarterly meetings to update the public members and the

community on the developments and initiatives to fight the opiate epidemic. The Task Force is

comprised of Subcommittees: Advocacy, Criminal Justice, Family Support, Healthcare, Public

Awareness and Youth and Youth and Young Adults. Each subcommittee has a Chair or Co-

chair. The Task Force addresses the opioid epidemic on multiple fronts including Prevention,

Education, Community Outreach, Treatment and Recovery Support. Much of this information

regarding this Task Force, its extensive programs and persons involved are available at

https://www.admboard.org/opiate-task-force.aspx; www.summitcountyopiatetaskforce.org and

www.summitcountyaddictionhelp.org.

       The Police and Fire Departments in the County have been in the forefront in addressing

the opioid public health crisis. Departments have been increasingly challenged to maintain their

duties with current personal and have increased law enforcement, fire, and emergency services to

respond to drug overdoses. In the City of Akron, the Police Department responded to 2,114

overdoses in 2016 and the first six months of 2017.



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       Summit County has experienced an increase in drug-related crimes, and has had to

increase its spending on drug-related treatment and prevention. The Summit County jail

provides services related to opioid detoxification, including preventing suicides believed to be

related to opioid withdrawal and now provides Narcan to inmates upon discharge to help prevent

future overdoses. Law enforcement, fire, and emergency services personnel spend time with

School administrators to educate and address students about the opioid crisis.

       The increasing number of cases takes both a physical and mental toll on investigators and

first responders. The Summit County Medical Examiner’s Office has struggled to retain and

recruit qualified death investigators. The Medical Examiner’s Office has had to hire four Locum

Tenens doctors to assist in the case load. In addition to burn-out, the Summit County Medical

Examiner’s Office has faced increased costs of overtime, laboratory, toxicology and other costs.

The increased case load and decreased staffing cost the Summit County Medical Examiner’s

Office its National Association of Medical Examiners Accreditation due to lengthy turnaround

times and heavy caseloads for pathologists. Between 2012 and 2016, there was a 47% increase

in autopsies, a 436% increase in toxicology lab costs to identify new drugs, mostly synthetic

opioids that have swept up individuals already addicted to opioids, and a 100% increase in the

costs to transport the bodies. There has been a 209% increase in the number of overdose deaths.

       The surge of fatal drug overdoses have outpaced the capacity of some local morgues.

Coroners and medical examiners in Summit County have had to request the use of refrigerated

trailers known as “mobile morgue units.” Summit County has had to make use of the mobile

morgues at least five separate occasions. These refrigerated trailers double the number of bodies

that the County Medical Examiner’s Office could otherwise hold at one time.




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       Resources are diverted from other important uses and agencies will likely have to

increase operating levies to fund their services, shifting an additional burden to Summit County

residents. These costs do not even contemplate the resources necessary to fully address or abate

the epidemic.

       Plaintiff has provided various treatment programs and centers. They include an ADM

(Alcohol Drug and Mental Health Services Board) Addiction Helpline, Quick Response Team,

Police and EMS Naloxone reversals, Residential and Detox Access, Medication Assisted

Treatments (MAT) and Interim Crisis Services. Detox beds have been added to the Detox unit

and Summit County will host the largest detox center in Ohio. Data contained within amfAR’s

Opioid & Health Indicators show that in 2014, Summit County had a rate of drug dependence of

2.56% and a rate of non-medical use of pain relievers of 4.82%, and that 87.5% of people who

need addiction treatment in the County do not receive it.

       In October 2017, Summit County, with a population of over 540,000 citizens, declared a

State of Emergency in the county due to the opioid epidemic. Summit County is listed as a High

Intensity Drug Trafficking Area with the fourth highest drug overdose death rate and the second

highest in fentanyl deaths in the state of Ohio for 2016. Summit County and the City of Akron

are intertwined in many of their efforts to address the opioid epidemic. The Summit County

Drug Unit is co-located with the Akron Police Department Narcotics Unit. It is a multi-

jurisdictional task force that investigates major organized groups involved in the illegal

distribution of drugs as well as any alleged violations by persons involved in the use or sale of

illegal drugs. The Summit County Drug Unit also has the responsibility to identify and destroy

illegal channels of drugs into Summit County, arrest violators and seize their illicit financial

assets. The Drug Unit consists of the following agencies: Summit County Sheriff’s Office,

Summit County Prosecutor’s Office, Akron Police Department, The University of Akron Police

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Department, Barberton Police Department, Cuyahoga Falls Police Department, Stow Police

Department, Copley Police Department, Bureau of Criminal Identification & Investigation, FBI,

DEA, ATF and the IRS.

        In 2016, the Drug Unit created an Opiate Task Force to handle overdose investigations.

The Summit County Drug Unit also teamed with the Akron Police Department Task Force to

form the Akron/Summit County HIDTA (High Intensity Drug Trafficking Area) Initiative, the

largest such initiative in the state of Ohio.

        In 2014, the Summit County Prosecutor’s Office created an Opiate Unit for low and

moderate risk opioid offenders that consists of four distinct phases that provide intensive

supervision services upfront and linkage/coordination to community treatment providers. The

Opiate Unit has grown to consist of four probation officers with specialized training due to the

growing opiate epidemic. The Adult Probation Department was awarded the SMART Grant

through the Ohio Department of Rehabilitation and Correction to combat the growing percentage

of opiate addicted individuals that come through the program. During 2016, there were 429

cases placed in this specialty unit; of which 295 cases were closed and 95 of those cases

consisting of successful completions. Two drug court judges do community outreach regarding

opioids and other drugs.

        The Drug Court also has a program called Turning Point which is a special court given

the responsibility to handle cases involving drug-using/abusing, non-violent offenders, through

immediate comprehensive supervision, drug testing, and treatment services, as well as immediate

sanctions and incentives. The Faith in Recovery Program provides a spiritual mentor from a

local church as an added option for participants. The Valor Court is provided for the specialized

needs of those who have served our country, providing access to programs, treatment and

interaction with mentors.

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       The Summit County ADM Board “exists for citizens of Summit County a healthy

community in which a continuum of case supports mental wellness and freedom from addiction,

with outcomes optimizing use of available resources” – including minimizing opiate related

dependency, deaths and overdoses. The ADM Board was instrumental in establishing the Opiate

Task Force in early 2014, which has grown to over 400 members consisting of physicians,

pharmacists, faith leaders, judges, prosecutors, police chiefs, school superintendents and multiple

agency leaders, public health officials, elected representatives, ADM Board staff and concerned

citizens. In 2016, 52,517 citizens of Summit County benefited from ADM Board funded

services; 4,203 clients received substance abuse treatment. In 2017, the ADM Board budgeted

an additional $3.2 million to expand detoxification, Quick Response Teams and recovery

coaching services.

       The ADM Addiction Hotline is run by Akron Summit Community Action and provides a

single phone number to enable those seeking addiction services to identify a qualified provider

agency for quick access to an assessment and ongoing treatment. In 2016, the ADM Crisis

Center provided 2,199 detoxification admissions, up by 622 admissions from 2015. The Gloves

Up Campaign was launched in 2017 to help promote the ADM Addiction Helpline and other

initiatives. The 2018 ADM Budget for non-Medicaid services increased 5% due to measures

planned to address the Opioid Epidemic; other contracts and allocations increased 46% due to

measures planned to address this epidemic.

       The Summit County Opiate Task Force focuses on awareness, education, treatment and

recovery. The Task Force provides pharmacist training on Narcan, expanded use of Vivitrol,

addiction education, referral services and public education through partnerships with local

pharmacies. The Task Force is encouraging school districts to become involved in prevention

and awareness programs. Summit County is adding ten beds to its detox unit, making it the

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largest detox center in Ohio. The Task Force has quarterly, public meetings to encourage

community involvement.

       The City of Akron is reported to have 58.74% of the total overdoses in Summit County.

The Akron Fire Department reports there were 4173 Opiate EMS incident reports and utilization

of Narcan from July 2010 to June 2018. There are about 15,000 opioid-related incident reports

and 1,700 Reports of Investigations that the City of Akron Police Department is responsible for

investigating. In 2016 and the first six months of 2017, the City of Akron Police Department

responded to 2,114 overdoses.

       The Akron Municipal Drug Court was initiated in 1995 as a collaborative effort between

Summit County Courts, the Akron Police Department, the Akron Prosecutor’s Office, the Public

Defender’s Office, the Akron Municipal Probation Department, the Summit County ADM Board

and Oriana House, Inc.

       The Akron Quick Response Teams (“QRT”) are a collaborative effort between Summit

County Public Health, Akron Fire Department and Akron Police Department. This team focuses

on connecting with individuals who have been struggling with addiction to opioids and have

recently overdosed. The QRT is also responsible for distribution of naloxone kits. From March

2017 to May 2018, the QRT made a total of 537 visits and distributed 44 naloxone kits.

       Summit County treatment and recovery services offered are:

 Program                                         Description
 The Akron General Edwin Shaw                    An intensive outpatient program for chemical
 Rehabilitation Institute                        dependency; monitors Suboxone intake
                                                 during transition from a detox center.
 Akron Medical Center                            Inpatient treatment program for opioid
                                                 addiction.
 Akron Urban Minority Alcoholism Drug            Established in 1980 via legislative action to
 Abuse Outreach Program (UMADAOP)                provide substance abuse education,
                                                 prevention and treatment for African and
                                                 Hispanic Americans throughout the State of
                                                 Ohio.

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 Asian Services in Action, Inc.          A treatment resource with an ambulatory
                                         detoxification/treatment center.
 Community Health Center                 Provides Summit County with a
                                         comprehensive treatment plan for the
                                         rehabilitation and prevention of addiction;
                                         provides medically-assisted treatment for
                                         opioid addicted adults; goal is to provide
                                         complete methadone maintenance and
                                         rehabilitation counseling services to eliminate
                                         opioid and other drug use and the spread of
                                         infectious diseases.
 Cover 2 Resources                       A nonprofit organization to spread awareness
                                         and educate those touched by the opioid
                                         epidemic.
 Interval Brotherhood Home (IBH)         An addiction recovery center in operation
                                         since 1970 providing an abstinence-based
                                         residential treatment program with
                                         educational classes for family members.
 Mature Services Avenues to Recovery     A drug addiction treatment service.
 Oriana House                            Summit County’s Alternative Corrections
                                         Provider offering treatment and recovery for
                                         alcoholism and chemical dependency.
 Restore Addiction Recovery              A treatment and recovery campus that assists
                                         those struggling with addiction through a
                                         faith-based program.
 Rigel Recovery Services                 Provides medication assisted treatment with
                                         prescription Vivitrol and an intensive
                                         outpatient treatment program specific to the
                                         use of opioids.
 Summa Akron City Hospital               Inpatient detox for opioid addiction.
 Summit County Public Health             Member of the Opiate Task Force and
                                         provides quarterly reports on drug overdoses.
                                         Oversees Project DAWN which is a
                                         community-based drug overdose prevention
                                         and education project where participants
                                         receive training on recognizing the signs and
                                         symptoms of overdose and administering
                                         intranasal Naloxone/Narcan.
 Summa Health System                     The Summa Health Behavioral Health
                                         Institute provides inpatient and outpatient
                                         services to combat a variety of addiction
                                         disorders; operates a Vivitrol Clinic in Akron;
                                         the Summa Community Leadership Institute
                                         endeavors to involve the community in
                                         fighting the opioid epidemic.



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 Summit Safe Needle Exchange Program                A free, anonymous syringe exchange program
                                                    which includes overdose prevention training
                                                    and risk reduction counseling.
 Summit Psychological Associates                    An outpatient medically assisted treatment
                                                    (Vivitrol) program for Oriana House.
 Summit County Community Partnership                A consortium of community resources
                                                    committed to preventing substance abuse
                                                    using evidence based prevention techniques,
                                                    information and activities.
 Jake’s Reach                                       An Akron-based opiate addiction resource
                                                    group.
 Hope United                                        A foundation founded to fight drug addiction.

       The following table describes other examples of the efforts made to address public health

and safety hazards of the opioid epidemic caused by the wrongful conduct of Distributor

Defendants.

Jurisdiction         Efforts to Address Opioid Epidemic
Summit County         •   Summit County Alcohol, Drug Addiction and Mental Health Board: Quick
                          Response Teams, DAWN, Addiction Helpline; Opiate Task Force
                          and the planning, maintaining and executing responses to the opioid
                          epidemic; purchase of Narcan; manages waitlists for residential treatment
                          facilities; additional training, education and
                          treatment;
                      •   Summit County Medical Examiner: increased number of deaths caused
                          by the opioid epidemic for the Summit County Medical Examiner’s office to
                          process and investigate; additional staffing and resources, additional costs
                          for contractors/vendors;
                      •   Summit County Prosecutors: increased caseload and prosecutions relating
                          to the opioid epidemic;
                      •   Summit County Court of Common Pleas (including probation and
                          specialty courts, like drug court): increased caseload and probation
                          services relating to the opioid epidemic; Opioid Unit in adult probation
                          department; two drug court judges do community outreach re opioids and
                          other drugs; Indigent Defense – increased County expenditures to fund this
                          Court program for indigent defendants;
                      •   Summit County Juvenile Court (including probation and specialty
                          courts): increase in number of parents participating in Family
                          Reunification Through Recovery Court due to opioid use; increase in
                          staff trainings related to opioid use;
                      •   Summit County Children Family Services: host Northeast Ohio
                          Regional Training Center which provides trainings related to opioids,
                          25% of the staff trainings they do relate to opioids; social workers

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                       who exclusively deal with families and substance abuse issues;
                       collaborate with juvenile court program, Family Reunifications
                       through Recovery; Oriana House; provides licensure hours for Close
                       Up which addresses opioids increased costs due to increased
                       placement of children abused and neglected due to opioid addictions;
                       the STARS Program (Summit County Collaborative on Trauma,
                       Alcohol & Other Drug & Resiliency Building Services for Children
                       & Families) provides intensive trauma and treatment services to
                       eligible families with support from various community partners, such
                       as in-home alcohol and other drug assessments, Recovery Coachers,
                       ongoing substance abuse treatment, the Nurturing Parenting Program,
                       trauma screening and services, and tutoring and mentoring for
                       children; in 2016, 113 families were enrolled in the STARS Program;
                   •   Summit County Sheriff: services, including but not limited to,
                       training, investigations, staffing, jail expenses, dispatch services, task
                       force as a result of the opioid epidemic; members of Quick Response
                       Team; DARE education; drug task force members meet with
                       community organizations to discuss opioids; drug take back days;
                       implement House Bill 277 aka Good Samaritan Law; receive Narcan
                       training;
                   •   Summit County General Health District: purchase of Narcan; Quick
                       Response Team; Syringe Harm Reduction Program; educational
                       campaigns, expanded medically assisted treatment programs;
                   •   Summit County Executive: Incident Management Assistance Team
                       (“IMAT”) coordinates activities of the Opiate Task Force and the
                       Addiction Counsel


Akron              •   Opioid-focused Quick Response Team (QRT);
                   •   Purchases of Narcan, drug testing kits, and Immunity Hearing Requirement
                       forms;
                   •   Increased Police/Fire/EMS service calls for overdoses;
                   •   Increased Police Division services for opioid investigations, including
                       training, detailing of staff to task forces;
                   •   Safety Communications handling of increased dispatches and related
                       Police/Fire/EMS support;
                   •   Law Department Criminal Division’s increased prosecutions relating to the
                       opioid epidemic;
                   •   Municipal Court’s increased caseload and probation load relating to the
                       opioid epidemic;
                   •   Planning and executing a response to the opioid epidemic, including
                       community educational awareness by Police, the Mayor’s office, and other
                       city departments;


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                        •   Funding of third party entities that provide various support services related
                            to the opioid epidemic, including Oriana House, Interval Brotherhood
                            Home, Summit Co. Public Health, etc.


       Plaintiff reserves the right to supplement or modify its response as discovery continues,

or to answer this interrogatory by producing non-privileged, responsive documents pursuant to

Federal Rule of Civil Procedure 33(d). In addition, discovery is ongoing and will be the subject

of fully-supported and detailed expert witness opinion(s) that will be disclosed in accordance

with CMO 1 and the Federal Rules of Civil Procedure.

Interrogatory 10

       Identify each instance for each year of the Timeframe in which You notified a state or

federal official or agency (including but not limited to the United Stated Drug Enforcement

Agency, a United States Attorney or representative thereof, Ohio Department of Medicaid and

its constituent providers, Ohio Department of Public Safety, Ohio Automated Rx Reporting

System, State of Ohio Board of Pharmacy, and State Medical Board of Ohio), insurer, third

party payer, or pharmacy benefit manager of suspected diversion, improper or excessive

dispensing, improper prescribing, unlawful sale, or other suspected wrongdoing related to

Prescription Opioids.

Response 10

       See response to Interrogatory No. 1. Plaintiff objects that this Interrogatory is overly

broad and unduly burdensome and seeks information beyond Plaintiff’s possession, custody, and

control. Further objecting, the Interrogatory contains a reference to several undefined terms and

phrases, namely, “excessive dispensing” and “improper prescribing.” Plaintiff objects to this

Interrogatory because certain responsive information is subject to the law enforcement privilege

or privacy rights.



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       Subject to and without waiving all objections, Plaintiff answers as follows: Plaintiff

refers Defendants to https://www.ohiopmp.gov/Reports.aspx for available OARRS data.

Plaintiff will supplement this answer with non-privileged information responsive to this

Interrogatory once the information is available to the Plaintiff. In addition, discovery is ongoing

and will be the subject of fully-supported and detailed expert witness opinion(s) that will be

disclosed in accordance with CMO 1 and the Federal Rules of Civil Procedure.

Interrogatory 11

       Identify each investigation, arrest, or prosecution within Your geographical boundaries

for each year of the Timeframe that involved (a) a Prescription Opioid or (b) other opioids.

Include as part of your response any information or evidence that connects each investigation,

arrest, or prosecution to a Prescription Opioid distributed by Distributor Defendants.

Response 11

       Plaintiff objects that this Interrogatory is overly broad and unduly burdensome and seeks

information beyond Plaintiff’s possession, custody, and control. Subject to and without waiving

all objections, Plaintiff will conduct a reasonable and diligent search for and, if such information

is in Plaintiff’s possession, custody, or control, will supplement this answer with non-privileged

information responsive to this Interrogatory once the information is available to the Plaintiff.

       Plaintiff responds and incorporates the answer to Interrogatory No. 8. Plaintiff also refers

Defendants to court and prosecutor files produced in this litigation as responsive to this request

pursuant to Federal Rule of Civil Procedure 33(d).

       In addition, discovery is ongoing and will be the subject of fully-supported and detailed

expert witness opinion(s) that will be disclosed in accordance with CMO 1 and the Federal Rules

of Civil Procedure.



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Dated: June 20, 2018
                                            Respectfully submitted,

                                            By: /s/ Linda Singer________
                                            Linda Singer

                                            Joseph F. Rice
                                            Jodi Westbrook Flowers
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                                 CERTIFICATE OF SERVICE

       I, Colleen Hemelgarn, certify that on June 20, 2018, I caused the foregoing to be served

via electronic mail on the individuals on the attached service list.

                                       /s/ Colleen Hemelgarn




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